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IN THE UNITED STATES B_ANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

ln re: Chapter 7

AE LIQUIDATION, INC., er al.,' ease No. 08-13031 (MFW)

Debtors. (Jointly Administered)

Related Docket No.

\_/\_/\_/\_/\_/\-./

ORDER

Before the Court is the Motion of Chapter 7 Trustee to Deposit Unclairned Noteholder
Funds into Registry of the Court and for Related Relief (the “Motion”).

A. This Court has jurisdiction, pursuant to 28 U.S.C. §§ 157 and 1334, and the
Amended Standing Order of Reference from the United States District Court for the District of
Delaware dated as of February 29, 2012. This is a core proceeding under 28 U.S.C. §157(b)(2).

B. Proper notice of the Motion has been provided by the Trustee.

C. The Court finds that the Trustee has diligently attempted to effectuate the
payments to the Affected Noteholders as stated in Exhibit A to this Order.

D. The Court finds that the legal and factual basis for the Motion has been otherwise
established.

IT IS THEREFORE ORDERED THAT:

l. The Motion is GRANTED. Any objections not made to the Motion are waived.

Any objections made to the Motion are overruled with prejudice.

 

1 The Debtors in these proceedings are: AE Liquidation, Inc. (f/k/af Eclipse Aviation Corporation) and
EIRB Liquidation, Inc. (f]’k/aj Eclipse lRB Sunport, LLC), a wholly-owned subsidiary of Eclipse Aviation
Corporation.

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2. The Trustee is authorized to pay into the Registry of the Court the amount of

$71,343.75 which is the total amount of the monies owed to the AH`ected Noteholders, and as

stated in Exhibit A.

3. The Trustee is further authorized to pay future distributions to any of the three
Af`fected Noteholders into the Registry of the Court, along with sufficient identifying

information as to the respective distributee and amount.

4. This Court shall retain jurisdiction to hear and determine all matters arising from

the implementation of this Order.

Dated: , 2015

 

Honorable Mary F. Walrath
United States Bankruptcy Judge

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Exhibit A to Order on Trustee Motion to Deposit Unclaimed Noteholder Fuods

into Court Registry
Case Number: 08-13031-MFW
Case Name: AE LIQUIDATION, INC.

 

 

 

 

 

MM
Note Holder Cashed Previous Pro Rata Check Mail
No. Distribution Distribution Number Returned
Check Amount
22 Morgan Stanley & Co., Incorporated Yes 35,719.71 170024; No
Attn: Sal Arrigo 180051
NSCC Window (2nd
55 Water Street, lst Floor attempt)
New York, NY 10041
37 Sierra Grande Enterprise, LLC Yes 66.30 170037 No
P.O. Box 4488
Albuquerque, NM 87196
41 Tempo Master Fund LP Yes 35,557.74 170041 No

 

c/o JD Capital Management LLC
Two Greenwich Plaza, 2nd Floor
Greenwich, CT 06830

 

 

 

 

 

 

TOTAL $ 71,343.75

 

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